
Appeal from a judgment of the Cayuga County Court (Mark H. Fandrich, A.J.), rendered September 13, 2011. The judgment convicted defendant, upon his plea of guilty, of rape in the first degree.
It is hereby ordered that the judgment so appealed from is unanimously affirmed.
Memorandum: Defendant appeals from a judgment convicting him upon his plea of guilty of rape in the first degree (Penal Law § 130.35 [4]). The record establishes that defendant knowingly, voluntarily and intelligently waived the right to appeal (see generally People v Lopez, 6 NY3d 248, 256 [2006]), and that valid waiver forecloses any challenge by defendant to the severity of the sentence (see id. at 255; see generally People v Lococo, 92 NY2d 825, 827 [1998]; People v Hidalgo, 91 NY2d 733, 737 [1998]). Present — Centra, J.P., Fahey, Lindley, Sconiers and Whalen, JJ.
